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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


ASHTON ORR, et al.,

                          Plaintiffs,                 Case No. 1:25-cv-10313-JEK

                v.

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                          Defendants.


                             DECLARATION OF ZAYA PERYSIAN
I, Zaya Perysian, hereby declare and state as follows:
       1.      My name is Zaya Perysian. I am a plaintiff in the above-captioned action and

submit this declaration in support of Plaintiffs’ Motion for a Preliminary Injunction.

       2.      I am over the age of 18, of sound mind, and in all respects competent to testify. I

have personal knowledge of the information contained in this Declaration and would testify

competently to those facts if called to do so.

       3.      I am a United States Citizen and a resident of Santa Clarita, California. I am

twenty-two years old, and I use “she” and “her” pronouns. I have lived in California since

October of 2023, when I moved here from New Jersey. I was born in Michigan and left when I

was 20 years old.

       4.      I am a transgender woman. My sex assigned at birth was male, but I have a

female gender identity.

       5.      I was diagnosed with gender dysphoria in 2020.


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       6.      I have lived as a female in all aspects of my life since 2020, and I am known only

as female to my family, friends, my community in California, and my social media followers

online. Today, I feel more like myself than ever. It has been a long road to feel safe and

authentic in my body, and I am so grateful to be living my truth in all aspects of my life.

       7.      I am a social media content creator, and my content focuses mainly on my life as

a proud transgender woman. I have documented my whole journey and have been able to

connect with a community of LGBTQ+ individuals across the globe. My content has also

allowed me to connect with millions of people who are not LGBTQ+ and has helped educate

them on what it actually means to be transgender in today’s society.

       8.      Having accurate identification is extremely important to my safety and my ability

to navigate this world. During the first year or two after coming out as transgender, before my

identification documents were updated, I faced significant harassment and was often put in

uncomfortable situations while traveling. I was subjected to intolerant gazes by airport personnel

when they viewed my identification with an inaccurate, male gender marker, but observed my

female gender expression. I have been patted down by agents expressing their interest in

confirming my gender based on my physical body, and I have had TSA agents say that I was the

“prettiest boy” they had ever seen. It was devastating for me to endure experiences like this, and

it wasn’t until I was able to update my driver’s license that these occurrences were less frequent.

       9.      I updated my Michigan driver’s license to my accurate female sex designation in

June of 2021 and my accurate name in February of 2022. I am in the process of getting a

California driver’s license which will also reflect my accurate name and female sex designation.

I have also been able to update my social security card in the same manner. Given that the

passport I had in my possession had an inaccurate male sex designation, I knew that I needed to


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update my passport in order to be able to travel for work opportunities abroad. On January 20th,

I was filled with anxiety when I saw the Executive Order regarding passports issued by the

White House.

       10.     I had planned to travel outside of the United States in early February 2025, and I

submitted an expedited application to update the sex designation on my passport to female on

January 23rd of this year.

       11.     On January 24th, I received notice via email that my passport application was

being processed. On January 28th, my passport was returned to me through the mail with a

notice stating: “the date of birth, place of birth, name, or sex was corrected on your passport

application,” with “sex” circled in red. The stated reason was “to match our records.” That

notice is attached hereto as Exhibit A.

       12.     I was so upset by this notice, that I posted about it on social media. A

representative from CNN who heard about my situation called the office on my behalf to

understand why this had been done, and they were told that the sex designation on my passport

must be male in accordance with the new passport policy issued by the White House and

implemented by the Department of State. My passport has a male sex designation, and the new

expiry date is set for January 24, 2035. I am only perceived as female by those who see me, and

using this passport will out me as transgender to people who would not otherwise have known.

       13.     This is particularly harmful to me as I have been invited to many opportunities to

connect with other influencers abroad. Without accurate identification, I will not be able to

engage in income-generating opportunities outside of the United States.

       14.     I do not want to travel with my current passport that does not reflect who I am,

and there are some countries I would not even consider traveling to without an accurate passport


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